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                                         United States District Court
                                        Southern District of New York
                                               Office of the Clerk
                                                U.S. Courthouse
                                  500 Pearl Street, New York, N.Y. 10007-1213



                                                             Date:

                                                   In Re:

                                                                             -v-


                                                   Case #:                            (          )


Dear Litigant,

         Enclosed is a copy of the judgment entered in your case.

         Your attention is directed to Rule 4(a)(1) of the Federal Rules of Appellate Procedure, which requires
that if you wish to appeal the judgment in your case, you must file a notice of appeal within 30 days of the
date of entry of the judgment (60 days if the United States or an officer or agency of the United States is a
party).

         If you wish to appeal the judgment but for any reason you are unable to file your notice of appeal
within the required time, you may make a motion for an extension of time in accordance with the provision
of Fed. R. App. P. 4(a)(5). That rule requires you to show “excusable neglect” or “good cause” for your
failure to file your notice of appeal within the time allowed. Any such motion must first be served upon the
other parties and then filed with the Pro Se Office no later than 60 days from the date of entry of the judgment
(90 days if the United States or an officer or agency of the United States is a party).

        The enclosed Forms 1, 2 and 3 cover some common situations, and you may choose to use one of
them if appropriate to your circumstances.

        The Filing fee for a notice of appeal is $5.00 and the appellate docketing fee is $450.00 payable to
the “Clerk of the Court, USDC, SDNY” by certified check, money order or cash. No personal checks are
accepted.

                                                             J. Michael McMahon, Clerk of Court


                                                   by:

                                                                                      , Deputy Clerk



APPEAL FORMS

U.S.D.C. S.D.N.Y. Docket Support Unit                        1                             Revised: May 18, 2007
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                                            United States District Court
                                           Southern District of New York
                                                   Office of the Clerk
                                                    U.S. Courthouse
                                      500 Pearl Street, New York, N.Y. 10007-1213

------------------------------------------------------------X
                                                                |
                                                                |                NOTICE OF APPEAL
                                                                |
                         -V-                                    |
                                                                |
                                                                |                civ.                     (      )
                                                                |
------------------------------------------------------------X


          Notice is hereby given that
                                                                                 (party)
hereby appeals to the United States Court of Appeals for the Second Circuit from the Judgment [describe it]




entered in this action on the                         day of                                 ,                       .
                                           (day)                        (month)                         (year)




                                                                                            (Signature)


                                                                                            (Address)


                                                                                 (City, State and Zip Code)

Date:                                                               (        )                     -
                                                                                        (Telephone Number)




Note: You may use this form to take an appeal provided that it is received by the office of the Clerk of the
District Court within 30 days of the date on which the judgment was entered (60 days if the United States or
an officer or agency of the United States is a party).



APPEAL FORMS

U.S.D.C. S.D.N.Y. Docket Support Unit                               2                                            Revised: May 18, 2007
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FO RM 1
                                            United States District Court
                                           Southern District of New York
                                                   Office of the Clerk
                                                    U.S. Courthouse
                                      500 Pearl Street, New York, N.Y. 10007-1213

------------------------------------------------------------X
                                                                |
                                                                |   MOTION FOR EXTENSION OF TIME
                                                                |    TO FILE A NOTICE OF APPEAL
                         -V-                                    |
                                                                |
                                                                |           civ.                     (   )
                                                                |
------------------------------------------------------------X

          Pursuant to Fed. R. App. P. 4(a)(5),                                                                     respectfully
                                                                            (party)
requests leave to file the within notice of appeal out of time.
                                                                                                             (party)
desires to appeal the judgment in this action entered on                                                  but failed to file a
                                                                               (day)
notice of appeal within the required number of days because:

[Explain here the “excusable neglect” or “good cause” which led to your failure to file a notice of appeal within the
required number of days.]




                                                                                       (Signature)


                                                                                       (Address)


                                                                               (City, State and Zip Code)

Date:                                                               (   )                  -
                                                                                   (Telephone Number)



Note: You may use this form, together with a copy of Form 1, if you are seeking to appeal a judgment and
did not file a copy of Form 1 within the required time. If you follow this procedure, these forms must be
received in the office of the Clerk of the District Court no later than 60 days of the date which the judgment
was entered (90 days if the United States or an officer or agency of the United States is a party).




APPEAL FORMS

U.S.D.C. S.D.N.Y. Docket Support Unit                               3                                    Revised: May 18, 2007
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FO RM 2
                                            United States District Court
                                           Southern District of New York
                                                   Office of the Clerk
                                                    U.S. Courthouse
                                      500 Pearl Street, New York, N.Y. 10007-1213

------------------------------------------------------------X
                                                                 |
                                                                 |            NOTICE OF APPEAL
                                                                 |                 AND
                       -V-                                       |       MOTION FOR EXTENSION OF TIME
                                                                 |
                                                                 |                     civ.                     (   )
                                                                 |
------------------------------------------------------------X

1.         Notice is hereby given that                                                                                  hereby appeals to
                                                                         (party)
the United States Court of Appeals for the Second Circuit from the judgment entered on                                                 .
                                   [Give a description of the judgment]




2.         In the event that this form was not received in the Clerk’s office within the required time

                                                     respectfully requests the court to grant an extension of time in
                    (party)
accordance with Fed. R. App. P. 4(a)(5).

           a.       In support of this request,                                                                              states that
                                                                                       (party)
this Court’s judgment was received on                                                         and that this form was mailed to the
                                                                (date)
court on                                    .
                     (date)

                                                                                                  (Signature)


                                                                                                  (Address)


                                                                                       (City, State and Zip Code)

Date:                                                                    (         )                -
                                                                                              (Telephone Number)

Note: You may use this form if you are mailing your notice of appeal and are not sure the Clerk of the
District Court will receive it within the 30 days of the date on which the judgment was entered (60 days if
the United States or an officer or agency of the United States is a party).



APPEAL FORMS

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FO RM 3
                                            United States District Court
                                           Southern District of New York
                                                   Office of the Clerk
                                                    U.S. Courthouse
                                      500 Pearl Street, New York, N.Y. 10007-1213

------------------------------------------------------------X
                                                                |
                                                                |            AFFIRMATION OF SERVICE
                                                                |
                         -V-                                    |
                                                                |
                                                                |            civ.                  (   )
                                                                |
------------------------------------------------------------X


          I,                                                            , declare under penalty of perjury that I have


served a copy of the attached




upon




whose address is:




Date:
               New York, New York


                                                                                     (Signature)


                                                                                     (Address)


                                                                               (City, State and Zip Code)




APPEAL FORMS

U.S.D.C. S.D.N.Y. Docket Support Unit                               5                                  Revised: May 18, 2007
